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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 09-80656-CIV-MARRA/JOHNSON

  JANE DOE NO. 102,

         Plaintiff,

  vs.

  JEFFREY EPSTEIN,

        Defendant.
  _____________________________________/

                                 FINAL ORDER OF DISMISSAL

         THIS CAUSE is before the Court upon the parties’ Stipulation of Dismissal With

  Prejudice (DE 64), filed December 7, 2009. The Court has reviewed the Stipulation, the

  pertinent portions of the record, and is otherwise advised in the premises. In accordance with the

  parties’ Stipulation, it is ORDERED AND ADJUDGED as follows:

  1.     The above-styled action is hereby DISMISSED WITH PREJUDICE.

  2.     All pending motions are DENIED AS MOOT.

  3.     The Court shall retain jurisdiction to enforce the terms of the parties’ settlement.

  4.     The Clerk shall CLOSE THIS CASE.

         DONE and ORDERED in Chambers at West Palm Beach, Palm Beach County, Florida

  this 8th day of December, 2009.

                                                _______________________________________
                                                KENNETH A. MARRA
                                                United States District Judge
  Copies furnished to:

  All counsel of record
